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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                  :
                                          :       CRIMINAL ACTION NO.
v.                                        :       3:04-cr-138 (JCH)
                                          :
MILTON MENAFEE                            :       AUGUST 5, 2008

                                         RULING

       On March 27, 2008, this court issued an Order to Show Cause why the

defendant, Milton Menafee, should be given a reduced sentence pursuant to the newly

retroactive change in the crack-cocaine guidelines. See Doc. No. 1956. The court

noted that Menafee had been found to be a career offender at sentencing, and that he

therefore appeared ineligible to obtain a reduced sentence. Id. Menafee responded by

pointing out that, at sentencing, the court had departed from the career offender

guidelines because it concluded that the guidelines had over-represented Menafee’s

criminal history. See Defendant’s Response at 5-6. In Menafee’s view, he is thus still

eligible to benefit from the retroactive guidelines change.

       For the reasons that follow, the court rejects the defendant’s argument and

concludes that resentencing is not appropriate.

I.     BACKGROUND

       On February 25, 2005, Menafee pled guilty to a one-count Information. That

Information charged him with conspiracy to distribute between 5 and 20 grams of crack-

cocaine, in violation of 18 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(iii), and 846. The

conspiracy operated between January and April of 2004.

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        Menafee appeared for sentencing on July 9, 2005. Based on the guidelines then

in effect, and based on the quantity of crack-cocaine attributed to Menafee, the court

calculated Menafee’s base offense level to be 26. See Sentencing Tr. at 5; USSG

§ 2D1.1(c)(7) (2004). However, because Menafee qualified for career offender status,

the guidelines elevated his offense level to 34. See Sentencing Tr. at 6; USSG

§ 4B1.1(b)(B). The career offender guidelines also had the effect of raising Menafee’s

criminal history to category VI, rather than category IV, which he otherwise would have

been. See Sentencing Tr. at 7; USSG § 4B1.1(b).

        After taking into account a three point reduction for acceptance of responsibility,

see USSG § 3E1.1, the court classified Menafee as offense level 31, with a criminal

history category of VI, which called for a guidelines range of 188-235 months.

Sentencing Tr. at 7. Despite this calculation, however, the court went on to conclude

that Menafee’s career offender status over-represented his criminal history. Id. at 34-

36. As best the court can determine from the available materials, the court appears to

have therefore departed horizontally to criminal history category V, and departed

vertically to an offense level of 23 (the offense level that would have applied but for the

career offender designation).1 See id.; USSG § 4A1.3(b) (permitting downward

departures from the sentencing guidelines when a court concludes that “the defendant’s



        1
          To determ ine the logic behind the court’s sentencing calculation, the court reviewed the
sentencing transcript and the statem ent of reasons, coupled with the court’s recollection of the sentencing.
As the record (and the court’s recollection) is not crystal clear, it is possible that the court’s sentence
reflected only a horizontal departure to crim inal history category V, followed by a non-guidelines sentence
under United States v. Booker, 543 U.S. 220 (2005).

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criminal history category substantially over-represents the seriousness of the

defendant’s criminal history or the likelihood that the defendant will commit other

crimes”). This called for a guideline range of 84 to 105 months, and the court imposed

a 100-month sentence.2


        2
           If in fact the court im posed what it believed was a guidelines sentence, based on both a
horizontal and vertical departure, the sentence was im posed pursuant to an incorrect guideline calculation.
Prior to Novem ber 1, 2003, Second Circuit case law authorized courts to im pose both horizontal and
vertical departures when it concluded that a defendant’s career offender status over-represented his
crim inal history. See United States v. Rivers, 50 F.3d 1126, 1131 (2d Cir. 1995). Thus, if Menafee’s
crim inal activity had taken place before Novem ber 1, 2003, there would have been no problem with the
court’s calculation. Instead, however, Menafee’s offense conduct took place in early 2004–several
m onths after the Sentencing Com m ission issued, in Novem ber 2003, a sweeping am endm ent to USSG
§ 4A1.3 and related provisions.
          Am ong the changes instituted was a change in the com m entary to Section 1B1.1 that specifically
defined the term “departure.” W hile the prior version of the guidelines did not specifically define this term ,
the 2003 am endm ent clarified that “departure” m eant:

                 (i) for purposes other than those specified in subdivision (ii), im position of
                 a sentence outside the applicable guideline range or of a sentence that is
                 otherwise different from the guideline sentence; and
                 (ii) for purposes of § 4A1.3 (Departures Based on Inadequacy of Crim inal
                 History Category), assignm ent of a crim inal history category other than
                 the otherwise applicable crim inal history category, in order to effect a
                 sentence outside the applicable guideline range.

USSG § 1B1.1 n.1(E) (em phasis added) (2004). By its term s, this am endm ent appears to have prohibited
vertical departures pursuant to Section 4A1.3. And although the Second Circuit has yet to clarify the
issue, at least one court has recognized that the 2003 am endm ents effected this change. See United
States v. Nielsen, 427 F. Supp. 2d 872, 878 (N.D. Iowa 2006).
          The 2003 guidelines am endm ent also im posed another im portant change. Specifically, the
am endm ent m ade clear that career offenders could not obtain horizontal departures that reduced their
crim inal history category by m ore than one level. See USSG § 4A1.3(b)(3)(A) (“The extent of a downward
departure under [Section 4A1.3(b)] for a career offender . . . m ay not exceed one crim inal history
category.”).
          At Menafee’s sentencing, the court recognized that the guidelines prohibited horizontal departures
that exceeded one crim inal history category. See Sentencing Tr. at 36. The court appears to have
overlooked, however, the fact that vertical departures were prohibited. Had the court been cognizant of
this, the correct guidelines calculation would have been to assign the defendant an offense level of 31,
while continuing to im pose a horizontal departure to crim inal history category V. This would have resulted
in a sentencing guidelines range of 168-210 m onths – well above the 100 m onths that the defendant
received.
          Of course, even if the court had calculated the guidelines correctly, the court still could have
im posed a 100 m onth sentence under Booker if it had deem ed 100 m onths to be an appropriate non-
guidelines sentence.

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        More than two years after Menafee was sentenced, the Sentencing Commission

retroactively amended the guidelines for crack-cocaine offenses. Under the amended

guidelines, Menafee’s base offense level would have been 24, rather than 26. If the

court were to engage in horizontal and vertical departures of a magnitude comparable

to those originally done at sentencing, Menafee would be deemed to have an offense

level of 21, with criminal history category V, resulting in a guideline range of 70-87

months. Defendant seeks to be sentenced under this amended range.3

II.     ANALYSIS

        Under 18 U.S.C. § 3582(c), the court has the authority to resentence individuals

when certain guideline changes have been made retroactive. Specifically: “[I]n the case

of a defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been [retroactively] lowered by the Sentencing

Commission[,] . . . the court may reduce the term of imprisonment . . . if such a

reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2).

        Here, the applicable policy statement is codified at USSG § 1B1.10. It provides,

inter alia, that a reduction “is not consistent with this policy statement if . . . [a retroactive

amendment] does not have the effect of lowering the defendant's applicable guideline

range.” USSG § 1B1.10(a)(2)(B) (2007 & Supp.).


        3
          Before reviewing a sentencing transcript in connection with this case, Menafee m aintained that
the court’s logic would have classified him as offense level 22, crim inal history category VI, under the
am ended guidelines. The court’s review of the relevant sentencing m aterials actually shows that
defendant’s classification would have been even lower.

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       The key issue in this case is to determine the meaning of the phrase “applicable

guideline range” in the policy statement. Is the applicable guideline range the range

that is calculated after departures? Or is it the guideline range calculated before

departures? If it is the former, defendant has a strong argument for resentencing. If it

is the latter, the defendant is ineligible because the crack-cocaine amendment would

not alter the applicable guidelines range: with or without the amendment, Menafee’s

career offender status would result in a pre-departure offense level of 34 (31 after

accounting for acceptance of responsibility) and a criminal history category of VI.

       For two reasons, the court concludes that the “applicable guidelines range” is the

pre-departure range. First, to hold otherwise would render parts of Guideline Section

1B1.10(b)(2) largely meaningless. Section 1B1.10(b)(2)(A) states that a resentencing

court cannot reduce a sentence below the minimum of the guideline range that would

apply under the amended guidelines. Importantly, this principle contains an exception:

              If the original term of imprisonment imposed was less than
              the term of imprisonment provided by the guideline range
              applicable to the defendant at the time of sentencing, a
              reduction comparably less than the amended guideline
              range . . . may be appropriate. However, if the original term
              of imprisonment constituted a non-guidelines sentence
              determined pursuant to 18 U.S.C. § 3553(a) and United
              States v. Booker, 543 U.S. 220 (2005), a further reduction
              generally would not be appropriate.

USSG § 1B1.10(b)(2)(B). Note that this exception discusses the “guideline range

applicable to the defendant at the time of sentencing.” If this referred to a post-

departure range, the exception in Section 1B1.10(b)(2)(B) could only apply to situations


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in which the court had imposed a non-guidelines sentence under Booker.4 Yet it is

plain from the way the exception is written, particularly its use of the word “however,”

that the exception contemplates being applied in many non-Booker scenarios. To give

effect to that contemplation, the court therefore must interpret the phrase “guideline

range applicable to the defendant at the time of sentencing” to be the pre-departure

guideline range.

       Second, this interpretation is confirmed by the Sentencing Commission's

commentary to its policy statement. In application note 3 to Section 1B1.10, the

Commission discusses a hypothetical example in which “the guideline range applicable

to the defendant at the time of sentencing was 70 to 87 months,” but the court had

nonetheless imposed a “departure” to 56 months imprisonment. It is plain from this that

the Commission deemed the phrase “guideline range applicable to the defendant at the

time of sentencing” to be the pre-departure guideline range.

       Notwithstanding this analysis, the defendant argues that the court can act to

resentence him because his sentence was “based on” the departed-to-sentencing

guidelines range, and that guidelines range was subsequently lowered by the

retroactive crack amendment. See Defendant’s Response at 5-6; see also 18 U.S.C. §

3582(c)(2) (explaining that a resentencing can be authorized when an original sentence


        4
         If a defendant was sentenced in the post-Booker era, and he received a sentence below his
post-departure guideline range, the sentence would have been a legal sentence only if the court had
concluded that the appropriate sentence, after consideration of all the factors in 18 U.S.C. Section
3553(a), was one that fell outside the Guidelines. If a defendant was sentenced in the pre-Booker era,
there would have been no legally viable way for the court to sentence the defendant below his post-
departure guideline range.

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was “based on” a guideline that was subsequently lowered retroactively). Menafee asks

this court to follow the lead of United States v. Poindexter, No. 00-406, 2008 U.S. Dist.

LEXIS 36284, at *7-12 (E.D. Pa. May 2, 2008), a case that permitted a retroactive

sentence reduction where the original sentence (like Menafee’s) had been the product

of a vertical departure from the career offender guidelines. Poindexter reasoned that

the defendant’s first sentence had been “based on” a guideline calculation that

accounted for the defendant’s quantity of crack-cocaine: the vertical departure there

had been designed to bring the defendant to the offense level that would have applied

in the absence of the career offender provisions. See Poindexter, at *6-8.

       This court is not persuaded by the Poindexter decision. Even when a sentence

is “based on” a later amended guideline, section 3582(c) further requires any

resentencing to be consistent with any applicable policy statements. In this case, the

court has determined that resentencing would not be consistent with Guidelines Section

1B1.10.

       The court finally notes that, even if it concluded that the applicable guidelines

range was the post-departure range, the court would still decline to resentence

Menafee. As discussed above, see supra note 2, when the court originally sentenced

Menafee, it incorrectly believed that it had the authority to depart vertically under

Section 4A1.3. As such, the court dropped Menafee’s adjusted offense level to 23.

Under a proper understanding of the court’s departure authority, however, the

defendant’s adjusted offense level should have stayed at 31. With criminal history


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category V, the guidelines recommended that Menafee be sentenced to 168-210

months. Since the amended crack guidelines did nothing to enhance the court’s vertical

departure authority, under the new guidelines Menafee’s range would still be calculated

at 168-210 months. In these circumstances, the court sees no reason why it ought to

resentence the defendant. And this is especially so when one considers that, because

of the court’s apparent error,5 Menafee’s sentence is 68 months below the correctly

calculated guideline minimum.6

III.    CONCLUSION

        In light of the foregoing, the court will not reduce the defendant’s sentence.

SO ORDERED.

        Dated at Bridgeport, Connecticut, this 5th day of August, 2008.


                                                    /s/ Janet C. Hall
                                                   Janet C. Hall
                                                   United States District Judge




        5
          The court notes that, at sentencing, the governm ent did not object to the court’s guideline
calculation. The governm ent did not appeal the defendant’s sentence.

        6
           If the defendant’s original sentence was not the result of a vertical departure, but was instead the
result of a non-guidelines sentence under Booker, the court would also still decline to revisit the sentence.
See USSG § 1B1.10(b)(2)(B) (“[I]f the original term of im prisonm ent constituted a non-guidelines sentence
determ ined pursuant to 18 U.S.C. § 3553(a) and United States v. Booker, 543 U.S. 220 (2005), a further
reduction generally would not be appropriate.”).

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